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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 22-cv-01986-RM-NRN

  CALIFORNIA INNOVATIONS INC.,

  Plaintiff,

  v.

  ICE ROVER, INC.,

  Defendant.

        SHOW CAUSE ORDER DIRECTED TO ATTORNEY WILLIAM P. RAMEY III


  N. REID NEUREITER
  United States Magistrate Judge

          This case is before the Court pursuant to the orders issued by Judge Raymond

  P. Moore referring Defendant’s Opposed Motion to Modify Scheduling Order to Extend

  Discovery Deadlines (Dkt. #51) (referred at Dkt. #53) (the “Motion”) and the parties’

  Stipulated Supplement to Motion to Modify Scheduling Order to Extend Discovery

  Deadlines (Dkt. #55) (referred at Dkt. #57).

          In the Motion, counsel for Defendant represents that former counsel for

  Defendant Ice Rover, Inc. (“Ice Rover”), William P Ramey III, failed in his duty to

  competently represent Defendant. In particular, it is reported that Mr. Ramey failed to

  serve any discovery requests to Plaintiff whatsoever. A Scheduling Order was entered

  more than a year ago on October 26, 2022. (Dkt. #25.) The deadline for fact discovery

  is December 1, 2023. (Id. at 8.) Prior to the withdrawal of Mr. Ramey from this case on

  September 28, 2023 (Dkt. #47), discovery should have substantially progressed in the
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  eleven months since the Scheduling Order was entered. The Court also notes that Mr.

  Ramey failed to appear at the May 9, 2023 Status Conference, and never provided any

  reason or explanation for this failure. (See Dkt. #29.) These actions are unacceptable,

  have prejudiced Ice Rover, and have disrupted the orderly administration of justice.

         It is also represented that Mr. Ramey or his firm has similarly failed to pursue

  discovery in three other active cases involving Ice Rover, has received unfavorable

  outcomes in at least fifteen other cases due to lack of proper representation, and is

  currently defending sanctions motions in at least four additional cases. (Dkt. #51 at 2.)

  The Court notes that Mr. Ramey is also subject to a pending motion for Rule 11

  sanctions in another case in this district. See Lexmark International Inc.’s Motion for

  Rule 11 Sanctions, Ortiz & Assocs. Consulting, LLC v. Lexmark Int’l, Inc., No. 23-cv-

  01646-NYW-SBP (D. Colo. Nov. 29, 2023). These circumstances indicate a potentially

  concerning pattern of neglect by Mr. Ramey and his firm.

         The Colorado Rules of Professional Conduct (“Colo. RPC”) are adopted as

  standards of professional responsibility in this Court, and a violation of these rules may

  be grounds for discipline. See D.C.COLO.LAttyR 2, 7. Colo. RPC 1.1 obligates lawyers

  to provide competent representation to clients, which requires “the legal knowledge,

  skill, thoroughness and preparation reasonably necessary for the representation.”

         Based on the apparent circumstances, and pursuant to the Court’s inherent

  authority, see Dab Drilling, Inc. v. Dabovich, No. 18-CV-1197-WJM-NRN, 2019 WL

  10945121, at *5 (D. Colo. Mar. 4, 2019) (citing Chambers v. NASCO, Inc., 501 U.S. 32,

  44–46 (1991)), it is hereby ORDERED that on or before December 14, 2023, Mr.

  Ramey shall SHOW CAUSE in writing why he should not be referred to the Court’s



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  Committee on Conduct for his neglectful behavior in this case, including his failure to

  appear at a scheduling conference and his failure to serve any discovery. Mr. Ramey’s

  response to this Show Cause Order shall include the following information:

         1. The number of lawsuits in which Mr. Ramey or Ramey LLP are currently

            listed as counsel of record in any court in the United States.

         2. The number of patent lawsuits that Mr. Ramey or Ramey LLP have filed or

            entered appearances in over the last 12 months.

         3. The number of attorneys that are currently employed at Ramey LLP.

         4. The number of times in the past three years that Mr. Ramey, Ramey LLP, or

            the clients of Ramey LLP have been sanctioned by any court or bar

            disciplinary body, including any public or private censures, and any orders to

            pay attorney’s fees for any reason.

         5. The number of motions for sanctions (or for attorneys fees) that are currently

            pending against Mr. Ramey, Ramey LLP, or its clients in any court.

         These questions are relevant to the issue of whether Mr. Ramey and his firm are

  spread too thin to provide competent representation. See Mondragon v. Nosrak LLC,

  No. 19-cv-01437-CMA-NRN, 2020 WL 2395641, at *8, *14 (D. Colo, May 11, 2020)

  (imposing sanctions on a copyright attorney with a “massive caseload” after the attorney

  demonstrated, both in the District of Colorado and in many other copyright cases

  around the nation, a disregard for basic federal courtroom rules, procedures, and

  practices, resulting in multiple sanction orders).




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        It is further ORDERED that the Clerk of Court shall mail a copy of this Show

  Cause Order to Mr. Ramey at Ramey LLP, 5020 Montrose Boulevard, Suite 800,

  Houston, TX 77006.



  Date: November 30, 2023
        Denver, Colorado                  N. Reid Neureiter
                                          United States Magistrate Judge




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